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                            LOCAL BANKRUPTCY FORM 9014-3

                        IN THE UNITED STATES BANKRUPTCY
                      COURT FOR THE DISTRICT OF NEW JERSEY
                              VICINAGE OF TRENTON
                 IN RE: Kevin Golom                             CHAPTER THIRTEEN

 Debtor                                                       Case Number 22-11194-CMG




                                  *      *        *     *      *

                        NOTICE OF MOTION, RESPONSE DEADLINE
                                 AND HEARING DATE

          Movant Wyndmoor Apartments by and through its attorney, Jénel R. Marraccini,

Esquire, has filed a "Motion for Relief from the Automatic Stay to permit Wyndmoor

Apartments to Proceed with an Eviction for 4 Civic Center Drive, Unit 4-8, East Brunswick,

New Jersey, 08816 with the court for leave to bring action for possession of the property

and/or eviction of the Debtor.

          Your rights may be affected.    You should read these papers carefully and discuss

them with your attorney, if you have one in this bankruptcy case. (If you do not have an

attorney, you may wish to consult an attorney.)

          1.    1. If you do not want the court to grant the relief sought in the motion or if you

want the court to consider your views on the motion, then on or before January 11, 2023 with

court. with the Clerk of the Court, with a copy sent to Petitioner’s attorney, at the following

addresses:
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             Office of the Clerk                             Jénel R. Marraccini, Esquire
       United States Bankruptcy Court                       COHEN MARRACCINI, LLC
       U.S. Post Office and Courthouse                          660 Second Street Pike
              401 Market Street                                Southampton, PA 18966
             Camden, NJ 08101                                 Phone No. (215) 887-8100
                609-361-2300


If you mail your answer to the bankruptcy clerk's office for filing, you must mail it early enough
so that it will be received on or before the date stated above; and
You must also mail copies of your response to the following trustees:

                Albert Russo                                        U.S. Trustee
         Standing Chapter 13 Trustee                         U.S. Department of Justice
                  CN 4853                                    Office of the U.S. Trustee
           Trenton, NJ 08650-4853                          One Newark Center, Suite 2100
               (609) 587-6888                                    Newark NJ 07102
                                                                   973-645-3014


       2. If you or your attorney do not take the steps outlines above, the court may decide that
you do not oppose the relief sought in the motion and may enter an order granting said relief.


       3. A hearing on the motion is scheduled to be held before the Honorable Christine M.
Gravelle on January 18, 2023 at 9 a.m. in Courtroom 3 at the Clarkson S. Fisher US
Courthouse, 402 East State Street, Trenton, NJ 08608. Unless the court orders otherwise, the
hearing on this contested matter will be an evidentiary hearing at which witnesses may testify
with respect to disputed material factual issues in the manner directed by Rule 9014(d) of the
Federal Rules of Bankruptcy Procedure. (Please note that this hearing is likely to be held
telephonically through Court Solutions.         Please see https://www.njb.uscourts.gov/judges-
info/honorable-christine-m-gravelle for more information regarding Judge Gravelle’s procedures
for holding and attending telephonic hearings.)


       4. You may contact the Bankruptcy Clerk's Office at 215-408-2800 to find out whether
the hearing has been cancelled because no one filed an answer.

Date: December 26, 2022
                                                      COHEN MARRACCINI, LLC
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                                           /s/ Jénel R. Marraccini
                                       BY: ________________________________
                                           JÉNEL R. MARRACCINI, ESQUIRE
                                           Attorney for Movant
                                           660 Second Street Pike
                                           Southampton, PA 18966
                                           (215)887-8100
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                        IN THE UNITED STATES BANKRUPTCY
                      COURT FOR THE DISTRICT OF NEW JERSEY
                              VICINAGE OF TRENTON
  IN RE: Kevin Golom                                CHAPTER THIRTEEN

                          Debtor                    Case Number 22-11194-CMG


    AMMENDED MOTION FOR RELIEF FROM AUTOMATIC STAY TO PERMIT
    WYNDMOOR APARTMENTS, LLC TO PROCEED WITH AN EVICTION FOR
        4 Civic Center Drive, Unit 4-8, East Brunswick, New Jersey, 08816

                                   Petitioner, Wyndmoor Apartments, LLC, by and through their

attorney, Jénel R. Marraccini, Esquire, moves this Court for an Order granting Relief From the

Automatic Stay provided for by 11 U.S.C. Section 362 and in support thereof avers the

following:

       1.       The Petitioner is the owner of the property located at 4 Civic Center Drive, Unit 4-8,

East Brunswick, New Jersey 08816 where the Debtor resides.

       2.       Kevin Golom is the Debtor in the above-entitled case under Chapter 13 of the

Bankruptcy Code pending in this Court.

       3.       On February 15, 2022, the above-named Debtor filed a Petition for Relief under

Chapter 13 of the Bankruptcy Code in this court.

       4. Subsequent to the filing of the Petition for Relief in Bankruptcy, the Debtor has not

paid rent in the following amounts to the Petitioner herein

             5. After the filing of the Petition for Relief in Bankruptcy, Debtor’s payment history
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     Date                       Description                          Charge Payment           Balance

   03/01/22 Rent (03/2022)                                         $1,527.00                  $1,527.0
   03/06/22 Late Charge                                             $76.35                    $1603.35

   04/01/22 Rent (04/2022)                                         $1,527.00                  $3,130.35
   04/06/22 Late Charge                                              $76.35                   $3,206.70
   05/01/22 Rent (05/2022)                                        $1,527.00                   $4,733.70
   05/06/22 Late Charge                                              $76.35                   $4,810.05
   06/01/22 Rent (06/2022)                                      $1,527.00                   $6,337.05
   06/06/22 Late Charge                                              $76.35                 $6,413.40
   07/01/22 Rent (07/2022)                                         $1,527.00                $7,940.40
   07/06/22 Late Charge                                              $76.35                $8,016.75
   08/01/22 Rent (08/2022)                                         $1,527.00                $9,543.75
   08/06/22 Late Charge                                              $76.35                $9,620.10
   09/01/22 Rent (09/2022)                                         $1,527.00               $11,147.10
   09/06/22 Late Charge                                              $76.35                $11,223.45
   10/01/22 Rent (10/2022)                                         $1,527.00               $12,750.45
   10/06/22 Late Charge                                              $76.35                $12,826.80
   11/01/22 Rent (11/2022)                                         $1,527.00               $14,353.80
   11/06/22 Late Charge                                              $76.35                $14,430.15
   12/01/22 Rent (11/2022)                                         $1,527.00                $15,957.15
   12/06/22 Late Charge                                              $76.35                $16,033.50



       In addition, due to Debtor’s failure to pay the aforementioned post petition rent

       payments, Petitioner herein has had to incur $750.00 in legal fees and costs, which

       Debtor is responsible for in accordance with the parties’ lease agreement.

       6.      The Debtor does not have the means of paying her rent and the Petitioner is

without adequate protection.

       7.      Debtor continues to have the use of the apartment "Rent-Free" has no right to

remain therein without paying rent.

       WHEREFORE, Petitioner moves this Court for an Order Granting Relief from the

Automatic Stay provided for by 11 U.S.C. Section 362 and permitting Petitioner to proceed with

an action for possession of the leased premises.
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                                            Respectfully submitted,

                                            COHEN MARRACCINI, LLC


                                            /s/ Jénel R. Marraccini

                                       BY: ________________________________
                                           JÉNEL R. MARRACCINI, ESQUIRE
                                           Attorney for Movant
                                           660 Second Street Pike
                                           Southampton, PA 18966
                                           (215)887-8100
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COHEN      MARACCINI,        LLC
JÉNEL R. MARRACCINI, ESQ.
MICHAEL ADLER, ESQ.
660 Second Street Pike
Southampton, PA 18966
Telephone No. (215) 887-8100
Movant Wyndmoor Apartments




                            IN THE UNITED STATES BANKRUPTCY
                             COURT FOR THE DISTRICT OF NEW
                               JERSEY VICINAGE OF TRENTON
   IN RE: Kevin Golom                                CHAPTER THIRTEEN

                            Debtor                   Case Number 22-11194-CMG

     CERTIFICATION OF PETITIONER JOSH GREENBERGER IN SUPPORT OF
              MOTION FOR RELIEF FROM AUTOMATIC STAY

        I, Josh Greenberger certify the following:

        1.     I am the Director of operations for the property located at 4 Civic Center Drive,

 Unit 4-8, East Brunswick, New Jersey 08816 Debtor Kevin Golom currently resides at the

 Premises under the terms of a residential lease. A true and correct copy of the residential

 lease is enclosed herewith as Exhibit A.

        2.     I am familiar with Debtor’s rental payment history because I am Debtor’s landlord

 and Debtor is my tenant.

        3.     On February 15, 2022, the above-named Debtor filed a Petition for Relief under

 Chapter 13 of the Bankruptcy Code in this Court. (Docket No. 1)

        4.     I am seeking relief from the automatic stay to pursue my state court rights due to

Debtor’s nonpayment of rent.
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       5.     The amount of Debtor’s rent per month is $1,527.00
       6.     After the filing of the Petition for Relief in Bankruptcy, Debtor’s payment history

    Date                           Descri                           Charge            t       Balance
                                   ption                                     Paymen
   03/01/22 Rent (03/2022)                                        $1,527.00                 $1,527.0
   03/06/22 Late Charge                                            $76.35                    $1603.35

   04/01/22 Rent (04/2022)                                        $1,527.00                  $3,130.35
   04/06/22 Late Charge                                             $76.35                   $3,206.70
   05/01/22 Rent (05/2022)                                       $1,527.00                   $4,733.70
   05/06/22 Late Charge                                              $76.35                  $4,810.05
   06/01/22 Rent (06/2022)                                     $1,527.00                   $6,337.05
   06/06/22 Late Charge                                              $76.35                $6,413.40
   07/01/22 Rent (07/2022)                                        $1,527.00                $7,940.40
   07/06/22 Late Charge                                              $76.35               $8,016.75
   08/01/22 Rent (08/2022)                                        $1,527.00                $9,543.75
   08/06/22 Late Charge                                              $76.35               $9,620.10
   09/01/22 Rent (09/2022)                                        $1,527.00                $11,147.10
   09/06/22 Late Charge                                              $76.35               $11,223.45
   10/01/22 Rent (10/2022)                                        $1,527.00                $12,750.45
   10/06/22 Late Charge                                              $76.35               $12,826.80
   11/01/22 Rent (11/2022)                                        $1,527.00                $14,353.80
   11/06/22 Late Charge                                              $76.35               $14,430.15
   12/01/22 Rent (11/2022)                                        $1,527.00                $15,957.15
   12/06/22 Late Charge                                              $76.35               $16,033.50
                                                                                                       0
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        7.         Post-petition, Debtor owes rent totaling $16,033.50 which represents unpaid rent

 for TEN (10) full months.

        8.         Debtor’s failure to pay rent is cause for relief from the automatic stay.

        9.         Through this motion, I request relief from the automatic stay so I may initiate a

 landlord-tenant action in New Jersey Superior Court seeking possession of the Premises and a

        Warrant of Removal of Debtor.

        I certify under penalty of perjury that the foregoing statements made by me are true and

correct. I am aware that if any of the foregoing statements made by me are willfully false, I am

subject to punishment.



Date:   12/13/22




                                                          Josh Greenberger Petitioner
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COHEN MARACCINI, LLC
JÉNEL R. MARRACCINI, ESQ.
MICHAEL ADLER, ESQ.
660 Second Street Pike
Southampton, PA 18966
Telephone No. (215) 887-8100

                                            HEARING DATE: 01/18/2023
                                            HEARING TIME: 9:00 am
                                            LOCATION: Room 3

                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF NEW JERSEY

  IN RE: Kevin Golom                              CHAPTER THIRTEEN

                        Debtor                    Case Number 22-11194-CMG

                 STATEMENT AS TO WHY NO BRIEF IS NECESSARY

       In accordance with D.N.J. LBR 9013-1(a)(3), it is respectfully submitted that no brief is

necessary in the court’s consideration of this motion, as it does not involved complex issues of

law.


Date: December 26, 2022                            COHEN MARRACCINI, LLC

                                             BY: /s/ Jénel R. Marraccini
                                                 JÉNEL R. MARRACCINI, ESQUIRE
                                                 Attorney for Petitioner
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                       IN THE UNITED STATES BANKRUPTCY
                     COURT FOR THE DISTRICT OF NEW JERSEY
                             VICINAGE OF TRENTON
  IN RE: Kevin Golom                               CHAPTER THIRTEEN


  Debtor                                           Case Number 22-11194-CMG

            MOTION FOR RELIEF FROM AUTOMATIC STAY TO PERMIT

                         ORDER GRANTING RELIEF FROM STAY

       The Motion of Petitioner, Wyndmoor Apartments, requesting Relief from the Automatic

Stay provided for by Section 362(a) of the Bankruptcy Code is GRANTED.

       It is further ORDERED that Petitioner is Granted leave to proceed with an action for

possession of the property and/or eviction of the Debtor.

                                                     BY THE COURT

                                                     ______________________
                                                                              J.
Notices sent to:

Jénel R. Marraccini, Esq.            Jeffrey E Jenkins
COHEN & WILLWERTH, P.C.              Jenkins & Clayman
660 Second Street Pike               412 White Horse Pike
Southampton, PA 18966                Audubon, NJ 08106

United States Trustee                Albert Russo
Office of U.S. Trustee               Chapter 13 Standing Trustee
833 Chestnut St                      CN 4853
Suite 502                            Trenton, NJ 08650-4853
Philadelphia, PA 19107
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  EXHIBIT “A”
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